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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

HAZIM NADA and LORD ENERGY SA,
Plaintiffs,
Vv. Case No. 1:24-cv-00206-ABJ

THE UNITED ARAB EMIRATES, et al.,

Defendants.

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AFFIDAVIT OF NICHOLAS J. BRECHBILL PROVIDING PROOF
OF SERVICE ON THE UNITED ARAB EMIRATES PURSUANT TO
THE FOREIGN SOVEREIGN IMMUNITIES ACT, 28 U.S.C. § 1608(a)(1)

Nicholas J. Brechbill, being duly swom, hereby deposes and says:

1. I am a partner of the law firm Clare Locke LLP. I am over the age of 18, am of sound
mind, and make this Affidavit based on my personal knowledge. I am not a party to this action.

a I am counsel for Hazim Nada and Lord Energy SA, Plaintiffs in this action.

oF The United Arab Emirates is a named defendant in this case and a foreign state within
the meaning of the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1603(a).

4. Federal Rule of Civil Procedure 4(j)(1) dictates that a foreign state must be served in
accordance with the FSJA, 28 U.S.C. § 1608.

5. Under 28 U.S.C. § 1608(a)(1), a foreign state, such as the UAE, may be served “by
delivery of a copy of the summons and complaint in accordance with any special arrangement for
service between the plaintiff and the foreign state or political subdivision.”

6. On May 7, 2024, Reeves Anderson, a partner at the law firm Amold & Porter and
counsel for the UAE in this action, informed me that the UAE agreed to accept service of process for
purposes of this action only by delivery of the summons and Complaint via email from Plaintiffs’

counsel to Mr. Anderson. Mr. Anderson also stated that the UAE agreed to waive any objections to
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the adequacy of service of process. A true and correct copy of this email from Mr. Anderson to me
memorializing the agreement between the parties authorizing service of the summons and Complaint
by email to the UAE’s counsel in this action is attached as Exhibit A to this Affidavit.

7. Later on May 7, 2024, I responded to Mr. Anderson’s email and sent him copies of
the summons for the UAE in this action and the Complaint, in English and Arabic, along with
certificates authenticating the translations. My email response to Mr. Anderson and the attachments
to that email are also included in Exhibit A.

8. I also informed Mr. Anderson in my email that, pursuant to Section 1608(a)(1) of the
FSIA and in accordance with the agreement between the parties, Plaintiffs considered service of
process to have been made on the UAE.

I affirm under penalty of perjury that the foregoing is true and correct. Executed on May 13,

GLP R-C

Nicholas J. Brechbill

2024, in Alexandria, Virginia by:

Thomas A. Clare, P.C.
Nicholas J. Brechbill
CLARE LOCKE LLP

10 Prince Street

Alexandria, Virginia 22314
Telephone: (202) 628-7400
Email: tom@clarelocke.com
Email: nick@clarelocke.com

Attorneys for Plaintiffs Hazim Nada and Lord
Energy SA
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Commonwealth of Virginia
City of Alexandria

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The foregoing instrument was sworn before me this BM say of My, 2024 by Nicholas J. Brechbill.

B

Notafy Public
Notary registration number: 15 354
My commission expires: (2 2

gait. Page Billingham McKinstry
% Commonwealth of Virginia
Notary Public
4 Commission No. 7589354
My Commission Expires 12/31/2026

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CERTIFICATE OF SERVICE

I hereby certify that the Affidavit of Nicholas J. Brechbill Providing Proof of Service on the
United Arab Emirates Pursuant to the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608 was
served on all counsel of record by filing it using the Court’s CM/ECF system, and I caused the
foregoing document to be served on counsel for Defendant Abu Dhabi National Oil Company by
emailing and mailing a true and correct copy to the following:

William A. Burck

John Bash

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& SULLIVAN, LLP

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williamburck@quinnemanuel.com
johnbash@quinnemanuel.com

Attorneys for Defendant
Abu Dhabi National Oil Company

Dated: May 13, 2024 /s/ Nicholas J. Brechbill
Nicholas J. Brechbill

Attorney for Plaintiffs Hazim Nada and Lord
Energy SA
